Case: 5:22-cv-01454-CEH Doc #: 32-1 Filed: 03/29/24 1 of 4. PagelD #: 219

EXHIBIT A

Case: 5:22-cv-01454-CEH Doc #: 32-1 Filed: 03/29/24 2 of 4. PagelD #: 220

282021 Ciaualt - Order #1E21 contiamed
i5 Gmail : Karl Forsoll <{forec@gmall.com>
Order #1121 confirmed
1 measaga
FPGA Land <noreply@ipga jand> 7 dune 2048 al 10:12

To: frsl@fimi.nef

FPGA Land ORDER #1121

Thank you for your purchase!

Hi Garl, we're gelting your order ready to be shipped. We will nolify you when It
has been seri.

or Visil our slore

Order summary

VCU1526 - Blackchaln Editlon (With Mods) x 4 $14,400,00
1GOE o_o

Subtotal $14,400.00
Shipping $190,648
Total $14,530.64 USD

Customer information

Shipping address Billing address

Carl Forselt Carl Forsell

8 St Martin's Dr 8 Sl Mariln's Dr

#03-21 St Martin Residence #03-21 St Martin Residence

Singapore 258005 Singapore 258005

Singapore Singapore

Shipping method Payment method

Worldwide Coinbase commerce — $14,530.64

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Tf yen beat any questions reply to this ayeall OF conlac| us at noreply@uipgalang

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iv; Gmail Karl Forsell <fforge@gmalt.com>

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Fo: fsl@ltenl, net

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